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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                            )      CASE NO: 4:88cr33
UNITED STATES OF AMERICA,                   )
               Plaintiff,                   )            ORDER
                                            )      TO WITHDRAW EXHIBITS
              vs.                           )      OR TO SHOW CAUSE WHY
                                            )      EXHIBITS SHOULD NOT BE
                                            )           DESTROYED
RAY RANSOM,                                 )
                     Defendant.             )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for parties, shall either 1)

withdraw the following exhibits previously submitted in this matter within 15 calendar days

of the date of this order, or 2) show cause why the exhibits should not be destroyed:

       Exhibit number(s):    All sealed exhibits

       Hearing type(s):      Detention Hearing held 1/18/1989
                             Suppression Hearing held 4/11/1989




       If counsel fails to withdraw these exhibits as directed or to show cause why the
exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits
without further notice to the parties or order from the court.


       IT IS SO ORDERED.
       June 24, 2009.


                                                   s/ Warren K. Urbom
                                                   United States Senior District Judge
